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12

13                       UNITED STATES DISTRICT COURT
14                     CENTRAL DISTRICT OF CALIFORNIA
15

16   VIZIO, INC.,                           Case No. 2:20-cv-06864- ODW (ASx)
17                             Plaintiff,   DECLARATION OF JESSICA N.
                                            WALKER IN SUPPORT OF
18              vs.                         DEFENDANT ARCH INSURANCE
                                            COMPANY’S MOTION FOR
19 NAVIGATORS INSURANCE                     SUMMARY JUDGMENT
   COMPANY; ARCH INSURANCE
20 COMPANY,                                 Case Filed: July 30, 2020
21                          Defendants.     Pre-Trial Conference Date: March 7, 2022
                                            Trial Date: March 29, 2022
22

23                                          Date:      January 10, 2022
                                            Time:      1:30 p.m.
24                                          Judge:     Hon. Otis D. Wright II
25                                          Courtroom: 5D

26

27

28
              DECLARATION OF J. WALKER ISO DEFENDANT ARCH INSURANCE
                           COMPANY’S MOTION FOR SUMMARY JUDGMENT
                                   -1-    Case No. 2:20-cv-06864- ODW (ASx)
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 1                          DECLARATION OF JESSICA N. WALKER
 2   I, Jessica N. Walker, declare and state as follows:
 3         1.       I am over the age of 21 and am competent to make this declaration.
 4   Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the following is true
 5   and correct.
 6         2.       I am an attorney admitted to practice before all courts in the State of
 7   California and this Court. I am an attorney with the law firm of Foley & Lardner LLP
 8   and counsel for Defendant Arch Insurance Company (“Arch”). As such, I am familiar
 9   with the file, the documents, and the history related to this action. I have personal
10   knowledge of the facts set forth in this declaration, and if called upon as a witness, I
11   could and would competently testify to these facts under oath.
12         3.       Attached hereto as Exhibit 1 is a true and correct copy of the Arch Essential
13   Excess Policy No. PCX 9300041-00. This document was attached to Plaintiff Vizio,
14   Inc.’s (“Vizio” or “Plaintiff”) Third Amended Complaint (ECF No. 58) as Exhibit 8, and
15   was also marked as Exhibit 202 to the Deposition of Michael Gil. Mr. Gil authenticated
16   this document at 38:19-39:8. This portion of Mr. Gil’s Deposition is included in Exhibit
17   29 (see paragraph 31 below).
18         4.       Attached hereto as Exhibit 2 is a true and correct copy of the Arch Essential
19   Excess Policy No. PCX 9300042-01, which was produced by Vizio in this action, Bates
20   numbered VIZ002229 through VIZ002237. This document was marked as Exhibit 1051
21   to the Deposition of Vizio’s 30(b)(6) Witness, Dennis Yeoh, Volume I.
22         5.       Attached hereto as Exhibit 3 is a true and correct copy of Defendant
23   Navigators Insurance Company (“Navigators”) Policy No. CH13DOL610110IV. This
24   document was included in Plaintiff Vizio, Inc.’s Appendix of Exhibits ISO Motion for
25   Partial Summary Judgment, ECF No. 84, as Exhibit 1, filed on November 1, 2021. This
26   document was authenticated in the Declaration of Dennis Yeoh in Support of Plaintiff
27   Vizio, Inc.’s Motion for Partial Summary Judgment, ECF 86, filed on November 1, 2021.
28         6.    Attached hereto as Exhibit 4 is a true and correct copy of an email thread,
                DECLARATION OF J. WALKER ISO DEFENDANT ARCH INSURANCE
                                  COMPANY’S MOTION FOR SUMMARY JUDGMENT
                                            -2-        Case No. 2:20-cv-06864- ODW (ASx)
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 1   with the latest in time email between Duke Wahlquist and Darren Le Montree, dated July
 2   31, 2017. This document was produced by Vizio in this action, Bates numbered
 3   VIZ010728.
 4         7.     Attached hereto as Exhibit 5 is a true and correct copy of an email thread,
 5 with the latest in time email between Hyongsoon Kim and Shira Mendelsohn, dated

 6 December 30, 2017. This document was produced by Vizio in this action, Bates

 7 numbered VIZ011000-VIZ011001.

 8         8.     Attached hereto as Exhibit 6 is a true and correct copy of an email thread
 9   with the latest in time email between Shira Mendelsohn and Steven Selzer, dated January
10   25, 2018. This document was produced by Navigators in this action, Bates numbered
11   CF0144-CF0145.
12         9.     Attached hereto as Exhibit 7 is a true and correct copy of a memorandum
13   entitled “In re VIZIO, Inc. Consumer Privacy Litigation, No. 8:16-ml-02693-JLS-KES –
14   Case Assessment,” from Akin Gump Strauss Hauer & Feld LLP to Navigators, which
15   was produced by Navigators in this action, Bates numbered CF2415-CF2473.
16         10.    Attached hereto as Exhibit 8 is a true and correct copy of a letter from
17   Hyongsoon Kim to Shira Mendelsohn and Helen Chen, dated February 2, 2018, which
18   was produced by Vizio in this action, Bates numbered VIZ012007-VIZ012008.
19         11.    Attached hereto as Exhibit 9 is a true and correct copy of an email thread,
20   with the latest in time email between Ray Miller and navproclaims@navg.com, dated
21   February 3, 2016, which was produced by Arch in this action, Bates numbered
22   ARCH0000824-ARCH0001093. This document was attached to Vizio’s Third Amended
23   Complaint (ECF No. 58) as Exhibit 9. This document was marked as Exhibit 1052 to the
24   Deposition of Vizio’s 30(b)(6) Witness, Dennis Yeoh, Volume I. Mr. Yeoh authenticated
25   this document at 219:12-220:6. This portion of Mr. Yeoh’s Deposition is included in
26   Exhibit 26 (see paragraph 28 below).
27         12.    Attached hereto as Exhibit 10 is a true and correct copy of an email thread,
28   with the latest in time email between Dennis Yeoh and Laura Levin, dated July 12, 2016,
                 DECLARATION OF J. WALKER ISO DEFENDANT ARCH INSURANCE
                                     COMPANY’S MOTION FOR SUMMARY JUDGMENT
                                             -3-      Case No. 2:20-cv-06864- ODW (ASx)
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 1   which was produced by Navigators in this action, Bates numbered CF0251-CF0256.
 2   This document was marked as Exhibit 1037 to the Deposition of Vizio’s 30(b)(6)
 3   Witness, Dennis Yeoh, Volume I. Mr. Yeoh authenticated this document at 123:12-
 4   124:1. This portion of Mr. Yeoh’s Deposition is included in Exhibit 26 (see paragraph 28
 5   below).
 6         13.    Attached hereto as Exhibit 11 is a true and correct copy of a letter from
 7 Darren Le Montree to Dennis Yeoh and Nikki Nguyen, dated January 31, 2017, which

 8 was produced by Navigators in this action, Bates numbered CF1553-CF1558. This

 9 document was marked as Exhibit 1041 to the Deposition of Vizio’s 30(b)(6) Witness,

10 Dennis Yeoh, Volume I. Mr. Yeoh authenticated this document at 134:7-18. This

11 portion of Mr. Yeoh’s Deposition is included in Exhibit 26 (see paragraph 28 below).

12         14.    Attached hereto as Exhibit 12 is a true and correct copy of an email thread,
13 with the latest in time email between Dennis Yeoh and Darren Le Montree, dated March

14 28, 2017, which was produced by Navigators in this action, Bates numbered CF1690-

15 CF1709. One page of another copy of this document was marked as Exhibit 1043 to the

16 Deposition of Vizio’s 30(b)(6) Witness, Dennis Yeoh, Volume I. Mr. Yeoh authenticated

17 Exhibit 1043 at 139:11-140:25. This portion of Mr. Yeoh’s Deposition is included in

18 Exhibit 26 (see paragraph 28 below).

19         15.    Attached hereto as Exhibit 13 is a true and correct copy of an email thread,
20 with the latest in time email between Ali Rabbani and Darren Le Montree, dated May 1,

21 2017, which was produced by Navigators in this action, Bates numbered CF0235-

22 CF0242. This document was marked as Exhibit 1044 to the Deposition of Vizio’s

23 30(b)(6) Witness, Dennis Yeoh, Volume I. Mr. Yeoh authenticated this document at

24 149:11-150:9. This portion of Mr. Yeoh’s Deposition is included in Exhibit 26 (see

25 paragraph 28 below).

26         16.    Attached hereto as Exhibit 14 is a true and correct copy of a letter from
27 Hyongsoon Kim to Darren Le Montree, dated June 9, 2017. This document was

28 produced by Navigators in this action, Bates numbered CF1819-CF1820.
                 DECLARATION OF J. WALKER ISO DEFENDANT ARCH INSURANCE
                              COMPANY’S MOTION FOR SUMMARY JUDGMENT
                                      -4-    Case No. 2:20-cv-06864- ODW (ASx)
Case 2:20-cv-06864-ODW-AS Document 113-4 Filed 12/06/21 Page 5 of 8 Page ID #:5865



 1         17.   Attached hereto as Exhibit 15 is a true and correct copy of a letter from
 2   Hyongsoon Kim to Darren Le Montree, dated July 31, 2017. This document was
 3   produced by Navigators in this action, Bates numbered CF5222-CF5223.
 4         18.   Attached hereto as Exhibit 16 is a true and correct copy of a letter from
 5   Hyongsoon Kim to Darren Le Montree, dated September 20, 2017. This document was
 6   produced by Navigators in this action, Bates numbered CF0592-CF0593. This document
 7   was marked as Exhibit 41 to the Deposition of Shira Mendelsohn.
 8         19.    Attached hereto as Exhibit 17 is a true and correct copy of a letter from
 9   Robert L. Sallander Jr. to Dennis Yeoh and Nikki Nguyen, dated October 31, 2017. This
10   document was produced by Navigators in this action, Bates numbered CF0229-CF0234.
11   This document was marked as Exhibit 43 to the Deposition of Steve Selzer. Mr. Selzer
12   authenticated this document at 84:9-17. This portion of Mr. Selzer’s Deposition is
13   included in Exhibit 28 (see paragraph 30 below).
14         20.   Attached hereto as Exhibit 18 is a true and correct copy of a letter from
15   Robert L. Sallander Jr. to Duke Wahlquist, dated January 22, 2018. This document was
16   produced by Navigators in this action, Bates numbered CF2405-CF2414. This document
17 was marked as Exhibit 48 to the Deposition of Steve Selzer. Mr. Selzer authenticated

18 this document at 92:13-93:23. This portion of Mr. Selzer’s Deposition is included in

19 Exhibit 28 (see paragraph 30 below).

20         21.   Attached hereto as Exhibit 19 is a true and correct copy of a letter from
21 Brian Kristiansen to Dennis Yeoh, dated February 8, 2016, which was produced by Arch

22 in this action, Bates numbered ARCH0000104-ARCH0000105. This document was

23 attached to Vizio’s Third Amended Complaint (ECF No. 58) as Exhibit 11. This

24   document was marked as Exhibit 1053 to the Deposition of Vizio’s 30(b)(6) Witness,
25   Dennis Yeoh, Volume I. Mr. Yeoh authenticated this document at 222:7-25. This
26   portion of Mr. Yeoh’s Deposition is included in Exhibit 26 (see paragraph 28 below).
27         22.   Attached hereto as Exhibit 20 is a true and correct copy of an email thread,
28   with the latest in time email between Ray Miller and Michael Gil, dated March 25, 2016,
                 DECLARATION OF J. WALKER ISO DEFENDANT ARCH INSURANCE
                                     COMPANY’S MOTION FOR SUMMARY JUDGMENT
                                             -5-       Case No. 2:20-cv-06864- ODW (ASx)
Case 2:20-cv-06864-ODW-AS Document 113-4 Filed 12/06/21 Page 6 of 8 Page ID #:5866



 1   which was produced by Arch in this action, Bates numbered ARCH0000152. This
 2   document was attached to Vizio’s Third Amended Complaint (ECF No. 58) as Exhibit
 3   13. This document was marked as Exhibit 1054 to the Deposition of Vizio’s 30(b)(6)
 4   Witness, Dennis Yeoh, Volume I. Mr. Yeoh authenticated this document at 227:15-
 5   228:3. This portion of Mr. Yeoh’s Deposition is included in Exhibit 26 (see paragraph 28
 6   below).
 7         23.   Attached hereto as Exhibit 21 is a true and correct copy of a letter from
 8   Brian Kristiansen to Dennis Yeoh, dated May 17, 2016, which was produced by Arch in
 9   this action, Bates numbered ARCH0000562-ARCH0000564. This document was
10   attached to Vizio’s Third Amended Complaint (ECF No. 58) as Exhibit 14. This
11   document was marked as Exhibit 1055 to the Deposition of Vizio’s 30(b)(6) Witness,
12   Dennis Yeoh, Volume I. Mr. Yeoh authenticated this document at 232:20-5. This
13   portion of Mr. Yeoh’s Deposition is included in Exhibit 26 (see paragraph 28 below).
14         24.   Attached hereto as Exhibit 22 is a true and correct copy of an email thread,
15   with the latest in time email between Mitchell Terk and ClaimsIRDropFile, dated June
16   16, 2016, which was produced by Arch in this action, Bates numbered ARCH0000552.
17   The majority of this email thread was also attached to Vizio’s Third Amended Complaint
18   (ECF No. 58) as Exhibit 15. This document was marked as Exhibit 1056 to the
19   Deposition of Vizio’s 30(b)(6) Witness, Dennis Yeoh, Volume I. Mr. Yeoh authenticated
20   this document at 234:10-235:4. This portion of Mr. Yeoh’s Deposition is included in
21   Exhibit 26 (see paragraph 28 below).
22         25.   Attached hereto as Exhibit 23 is a true and correct copy of an email thread,
23   with the latest in time email between Mitchell Terk and ClaimsIRDropFile, dated June
24   16, 2016, which was produced by Arch in this action, Bates numbered ARCH0000556-
25   561. The majority of this email thread was also attached to Vizio’s Third Amended
26   Complaint (ECF No. 58) as Exhibit 16. This document was marked as Exhibit 1057 to
27   the Deposition of Vizio’s 30(b)(6) Witness, Dennis Yeoh, Volume I. Mr. Yeoh
28   authenticated this document at 236:17-237:7. This portion of Mr. Yeoh’s Deposition is
                DECLARATION OF J. WALKER ISO DEFENDANT ARCH INSURANCE
                                   COMPANY’S MOTION FOR SUMMARY JUDGMENT
                                             -6-     Case No. 2:20-cv-06864- ODW (ASx)
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 1   included in Exhibit 26 (see paragraph 28 below).
 2           26.    Attached hereto as Exhibit 24 is a true and correct copy of Arch’s claim
 3 notes, which was produced by Arch in this action, Bates numbered ARCH0000565-569.

 4   This document was marked as Exhibit 62 to the Deposition of Brian Kristiansen. Mr.
 5   Kristiansen authenticated this document at 31:11-32:1. This portion of Mr. Kristiansen’s
 6   Deposition is included in Exhibit 29 (see paragraph 31 below).
 7           27.    Attached hereto as Exhibit 25 is a true and correct copy of excerpts of
 8   Plaintiff Vizio Inc.’s Response to Arch Insurance Company’s Interrogatories, Set One,
 9   dated November 15, 2021.
10           28.    Attached hereto as Exhibit 26 is a true and correct copy of excerpts of the
11   court reporter’s transcript of the Deposition of Dennis Yeoh, Volume I, taken under oath
12   and reported by Cherree P. Peterson, RPR, CRR, CSR No. 11108, on November 17,
13   2021.
14           29.    Attached hereto as Exhibit 27 is a true and correct copy of excerpts of the
15 court reporter’s transcript of the Deposition of Michael Gil, taken under oath and reported

16 by Viola Fedden, CSR No. 5586, on November 5, 2021.

17           30.    Attached hereto as Exhibit 28 is a true and correct copy of excerpts of the
18 court reporter’s transcript of the Deposition of Steve Selzer, taken under oath and

19 reported by Amy M. Lemacks, No. 13425, on October 22, 2021.

20           31.    Attached hereto as Exhibit 29 is a true and correct copy of excerpts of the
21 court reporter’s transcript of the Deposition of Brian Kristiansen, taken under oath and

22 reported by Sandra Nalley, No. 13607, on November 19, 2021.

23           32.    I sent Vizio’s and Navigators’ counsel a meet and confer letter providing the
24 basis for Arch’s Motion for Summary Judgment on November 10, 2021. Counsel for

25 Vizio, Gerard Mooney, my colleague, Dyana Mardon, and I met and conferred

26 telephonically regarding Arch’s Motion for Summary Judgment on November 16, 2021,

27 pursuant to Local Rule 7-3. Navigators’ counsel, Ann Johnston, also agrees that Arch’s

28 Local Rule 7-3 obligations have been met.
                   DECLARATION OF J. WALKER ISO DEFENDANT ARCH INSURANCE
                                COMPANY’S MOTION FOR SUMMARY JUDGMENT
                                        -7-    Case No. 2:20-cv-06864- ODW (ASx)
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 1         I declare under penalty of perjury under the laws of the United States of America
 2   that the foregoing is true and correct.
 3         Executed on December 6, 2021 in Los Angeles, California.
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 6
                                               By:
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                                                  JESSICA N. WALKER
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                DECLARATION OF J. WALKER ISO DEFENDANT ARCH INSURANCE
                             COMPANY’S MOTION FOR SUMMARY JUDGMENT
                                     -8-    Case No. 2:20-cv-06864- ODW (ASx)
